Case 2:23-cv-04150-MEMF-MRW      Document 42     Filed 05/03/24   Page 1 of 17 Page ID
                                      #:410


    1 Peter Hsiao (SBN 119881)
      phsiao@kslaw.com
    2 Michael D. Roth (SBN 217464)
      mroth@kslaw.com
    3 KING & SPALDING LLP
      633 West Fifth Street, Suite 1600
    4 Los Angeles, CA 90071
      Telephone: (213) 443-4355
    5 Fax: (213) 443-4310
    6 David L. Balser (admitted pro hac vice)
      dbalser@kslaw.com
    7 Charles G. Spalding, Jr. (admitted pro hac vice)
      cspalding@kslaw.com
    8 KING & SPALDING LLP
      1180 Peachtree Street, N.E.
    9 Atlanta, Georgia 30309-3521
      Telephone: (404) 572-4600
   10 Fax: (404) 572-5100
   11 Julia C. Barrett (admitted pro hac vice)
      jbarrett@kslaw.com
   12 KING & SPALDING LLP
      500 W. Second Street, Suite 1800
   13 Austin, Texas 78701
      Telephone: (512) 457-2053
   14 Fax: (512) 457-2100
   15 Attorneys for Defendant
      DELTA AIR LINES, INC.
   16
                         UNITED STATES DISTRICT COURT
   17
                        CENTRAL DISTRICT OF CALIFORNIA
   18                         WESTERN DIVISION
   19
      MAYANNA BERRIN, individually, ) Case No.: 2:23-cv-04150-MEMF-
   20 and on behalf of all others similarly ) MRWx
      situated,                             ) Hon. Maame Ewusi-Mensah Frimpong
   21
                                            )
   22                   Plaintiff,          ) DEFENDANT DELTA AIR LINES,
       v.                                   ) INC.’S NOTICE OF MOTION AND
   23
                                            ) PARTIAL MOTION TO DISMISS
   24 DELTA AIR LINES, INC.                 ) SECOND AMENDED
   25                                       ) COMPLAINT; MEMORANDUM
                        Defendant.          ) OF POINTS AND AUTHORITIES
   26                                       )
   27                                       ) Hearing: August 8, 2024; 10:00 AM
                                            )
   28                                       ) [Proposed] Order submitted herewith
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW      Document 42     Filed 05/03/24   Page 2 of 17 Page ID
                                      #:411


    1        TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2 PLEASE TAKE NOTICE that on August 8, 2024, or as soon thereafter as the
    3 matter may be heard, Defendant Delta Air Lines, Inc. (“Delta”) will bring for
    4 hearing before the Honorable Maame Ewusi-Mensah Frimpong, United States
    5 District Court Judge, in Courtroom 8b located on the 8th floor of the United
    6 States Courthouse, 350 West First Street, Los Angeles, California, 90012, a
    7 Partial Motion to Dismiss the Second Amended Complaint of Plaintiff Mayanna
    8 Berrin under Rule 12(b)(1) and (6) of the Federal Rules of Civil Procedure.
    9        This motion is based on this Notice of Motion and Motion, the Memorandum
   10 of Points and Authorities submitted herewith, the pleadings, papers, and records on
   11 file in this case, and such oral argument as may be presented at any hearing.
   12        This motion is made following the conference of counsel pursuant to L.R. 7-
   13 3, which took place on April 23, 2024.
   14
        DATED: May 3, 2024                          KING & SPALDING LLP
   15
                                                    By: /s/ Michael D. Roth
   16
                                                        Michael D. Roth
   17                                                   Attorney for Defendant
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                           2
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW              Document 42             Filed 05/03/24           Page 3 of 17 Page ID
                                              #:412



     1                                       TABLE OF CONTENTS
     2    I.       INTRODUCTION...................................................................................... 1
     3    II.      FACTUAL AND PROCEDURAL BACKGROUND .............................. 1
     4    III.     DELTA’S MOTION TO DISMISS SHOULD BE GRANTED
                   BECAUSE PLAINTIFF LACKS ARTICLE III STANDING TO SEEK
     5             FUTURE INJUNCTIVE RELIEF ............................................................. 3
     6             A.      Legal Standard ................................................................................. 3
     7             B.      Plaintiff’s Standing to Seek Prospective Injunctive Relief Is
                           Controlled by Article III and the Ninth Circuit’s Opinion in
     8
                           Davidson .......................................................................................... 4
     9                     i. The Ninth Circuit’s Opinion in Davidson Governs
    10                        Standing. ..................................................................................... 4
    11                     ii. Plaintiff Lacks a Concrete and Particularized Injury ................. 6
    12                     iii. Plaintiff Cannot Establish a Sufficient Likelihood that She Will
                                Be Wronged Again in a Similar Way ......................................... 7
    13
                           iv. The SAC Lacks Any Allegations Regarding Plaintiff’s Inability
    14                         to Rely on Delta’s Representations. ........................................... 8
    15                     v. Plaintiff Cannot Plausibly Allege Any Future Injury ................. 9
    16    IV.      CONCLUSION ........................................................................................ 11
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                              i
                 DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                               SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW                         Document 42                Filed 05/03/24              Page 4 of 17 Page ID
                                                         #:413



     1                                                   TABLE OF AUTHORITIES
     2                                                                                                                                     Page(s)
     3 Cases
     4
       Alfaro v. Delta Air Lines,
     5     No. 2:22-cv-04222-ODW, 2022 WL 17552995 (C.D. Cal. Dec. 9, 2022) ................................8

     6 Anthony v. Pharmavite,
              2019 WL 109446 (N.D. Cal. Jan. 4, 2019) ......................................................................5, 6, 10
     7
         Ashcroft v. Iqbal,
     8      556 U.S. 662 (2009) ...................................................................................................................3
     9 Bell Atl. Corp v. Twombly,
    10        550 U.S. 544 (2007) ...................................................................................................................3

    11 Broomfield v. Craft Brew All., Inc.,
              No. 17-CV-01027-BLF, 2017 WL 5665654 (N.D. Cal. Nov. 27, 2017)...................................6
    12
         Cimoli v. Alacer Corp.,
    13      546 F. Supp. 3d 897 (N.D. Cal. 2021) .....................................................................................10
    14 City of Los Angeles v. Lyons,
    15        461 U.S. 95 (1983) .....................................................................................................................4

    16 Clapper v. Amnesty Int’l USA,
              568 U.S. 398 (2013) ...................................................................................................................4
    17
         In re: Coca-Cola Prods. Mktg & Sales Practices Litg.,
    18       2021 WL 3878654 (9th Cir. 2021) ............................................................................................7
    19 Cordes v. Boulder Brands USA, Inc.,
              2018 WL 6714323 (C.D. Cal. Oct. 17, 2018) ............................................................................9
    20
    21 Davidson v. Kimberly-Clark Corp.,
              889 F.3d 956 (9th Cir. 2018) ........................................................................................... passim
    22
         Gamez v. Summit Nats. Inc.,
    23     No. CV2205894DSFKSX, 2022 WL 17886027 (C.D. Cal. Oct. 24, 2022) ..............................6
    24 Gest v. Bradbury,
              443 F.3d 1177 (9th Cir. 2006) ...................................................................................................8
    25
    26 Hanscom v. Reynolds Prods. LLC,
              No. 21-cv-03434-JSW, 2022 WL 591466 (N.D. Cal. Jan. 21, 2022) ........................................6
    27
       Hardy v. Mitsubishi Motors N. Am., Inc.,
    28    No. 21-CV-01983-MEMF, 2023 WL 4067408 (C.D. Cal. Mar. 30, 2023) .........................4, 11

                                                 ii
                    DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                                  SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW                         Document 42               Filed 05/03/24              Page 5 of 17 Page ID
                                                         #:414



     1 Harry v. KCG Americas LLC,
              No. 17-CV-02385-HSG, 2018 WL 4075885 (N.D. Cal. Aug. 27, 2018), aff’d,
     2        805 F. App’x 534 (9th Cir. 2020) ............................................................................................10
     3
       Hunter v. Nature’s Way Prod., LLC,
     4    No. 16-CV-0532-WQH-AGS, 2018 WL 340233 (S.D. Cal. Jan. 9, 2018) ...............................9

     5 Jackson v. Gen. Mills, Inc.,
              No. 2020 WL 5106652 (S.D. Cal. Aug. 28, 2020) ....................................................................9
     6
         Lanovaz v. Twinings N. Am., Inc.,
     7      726 F. App’x 590 (9th Cir. 2018) ..............................................................................................7
     8 Lujan v. Defs. of Wildlife,
     9        504 U.S. 555 (1992) ...............................................................................................................3, 4

    10 Matic v. U.S. Nutrition, Inc.,
              No. 18-cv-9592-PSG, 2019 WL 3084335 (C.D. Cal. Mar. 27, 2019) .....................................10
    11
         Moore v. Mars Petcare US, Inc.,
    12     No. 16-CV-07001-MMC, 2023 WL 4536882 (N.D. Cal. July 12, 2023) .................................9
    13 Morizur v. Seaworld Parks & Entertainment, Inc.,
    14        No. 15-CV-02172-JSW, 2020 WL 6044043, (N.D. Cal. Oct. 13, 2020)...............................7, 8

    15 Navarro v. Block,
              250 F.3d 729 (9th Cir. 2001) .....................................................................................................3
    16
         Phillips v. United States,
    17      No. 219CV06338SVWJEM, 2021 WL 2587961 (C.D. Cal. June 22, 2021) ............................8
    18 Rahman v. Mott’s LLP,
              No. 13-cv-03482-SI, 2018 WL 4585024 (N.D. Cal. Sept. 25, 2018) ......................................10
    19
    20 Santa Ana Police Officers Ass’n v. City of Santa Ana,
              No. SACV151280DOCDFMX, 2018 WL 3013355 (C.D. Cal. June 14, 2018) ........................3
    21
         Sonner v. Premier Nutrition Corp.,
    22      971 F.3d 834 (9th Cir. 2020) .................................................................................................1, 3
    23 Steckman v. Hart Brewing, Inc.,
              143 F.3d 1293 (9th Cir. 1998) ...................................................................................................4
    24
    25 T. K. v. Adobe Sys. Inc.,
              No. 17-CV-04595-LHK, 2018 WL 4003313 (N.D. Cal. Aug. 22, 2018) ..................................8
    26
       Vitiosus v. Alani Nutrition, LLC,
    27     No. 21-CV-2048-MMA (MDD), 2022 WL 2441303 (S.D. Cal. July 5, 2022) .........................8

    28
                                                 iii
                    DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                                  SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW                         Document 42               Filed 05/03/24              Page 6 of 17 Page ID
                                                         #:415



     1 Wisdom v. Easton Diamond Sports, LLC,
               2018 WL 6264994, (C.D. Cal. Oct. 9, 2018) .............................................................................7
     2
     3 Statutes
     4 Cal. Bus. & Prof. Code § 17200, et seq. ..................................................................................1, 5, 8
     5 Cal. Bus. & Prof. Code § 17500, et seq. ......................................................................................1, 5
     6 Cal. Civ. Code §1750, et seq............................................................................................................1
     7 Other Authorities
     8 Fed. R. Civ. P. 12(b)(1)....................................................................................................................3
     9 Fed. R. Civ. P. 12(b)(6)....................................................................................................................3
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                  iv
                     DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                                   SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW        Document 42      Filed 05/03/24   Page 7 of 17 Page ID
                                        #:416



     1               MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.      INTRODUCTION
     3         Plaintiff’s Second Amended Complaint (Dkt. 39, “SAC”) attempts to salvage
     4 her previously dismissed claims for future injunctive relief by including one stray
     5 additional allegation. Namely, in Paragraph 17 of the SAC, Plaintiff now alleges that
     6 she “is a longstanding and loyal Delta customer” and that she “intends to purchase
     7 flights from Delta in the future.” See SAC ¶ 17. Article III and binding Ninth Circuit
     8 precedent demand more. As explained below, Plaintiff’s meager allegations do not
     9 demonstrate that she has suffered any injury at all from Delta’s representations about
    10 being a carbon neutral airline, let alone that she is likely to suffer any similar injury
    11 in the future. Moreover, any such allegations would be implausible, since Plaintiff
    12 alleges—in no uncertain terms—that no company can ever obtain carbon neutrality
    13 through the purchase of carbon offsets (as she alleges Delta claimed to do). Plaintiff
    14 cannot simultaneously claim she will be injured in the future by carbon-offset-
    15 related representations while also alleging that she places no credence in any such
    16 representations. Moreover, no further amendments will erase that fact.
    17         Consequently, the Court should dismiss Plaintiff’s claims for future injunctive
    18 relief and should do so without leave to amend.
    19 II.     FACTUAL AND PROCEDURAL BACKGROUND
    20         On March 28, 2024, this Court entered an order granting Defendant Delta Air
    21 Lines, Inc.’s (“Delta’s”) motion to dismiss Plaintiff’s First Amended Complaint
    22 (“FAC”). See Order Granting in Part Mot. to Dismiss with Leave to Amend, Dkt. 37
    23 (“MTD Order”). Plaintiff’s FAC asserted equitable claims under California’s False
    24 Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq., and Unfair
    25 Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq., and legal claims
    26 under California’s Consumer Legal Remedies Act, Cal Civ. Code § 1750, et seq.
    27 (“CLRA”). In the MTD Order, the Court dismissed Plaintiff’s claims for equitable
    28 restitution with prejudice under the FAL and UCL based on Sonner v. Premier
                                            1
               DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                             SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW       Document 42      Filed 05/03/24   Page 8 of 17 Page ID
                                       #:417



     1 Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020). See MTD Order at 12-13. The
     2 Court further found that Plaintiff had not adequately alleged standing to seek future
     3 injunctive relief, but that “this deficiency may be cured by amendment.” Id. at 13.
     4        Plaintiff filed her SAC on April 10, 2024. The allegations in the SAC are
     5 essentially the same as those in the FAC, and, like the FAC, assert that Delta
     6 misrepresented “the total environmental impact of its business operations” in
     7 advertisements and promotional materials, “thereby attaining undeserved market
     8 share from environmentally concerned consumers.” SAC ¶ 1. Plaintiff alleges that
     9 she purchased multiple Delta flights since March 2020. See SAC ¶ 13. Plaintiff states
    10 she viewed advertisements, LinkedIn posts, and business reporting where Delta was
    11 “touted as a carbon neutral business,” id. ¶ 14, and that these representations “were
    12 part of the basis of the bargain, in that she would not have purchased said flights on
    13 the same terms had she known those representations were not true,” id. ¶ 15.
    14        As she did in the FAC, Plaintiff alleges that after she purchased her Delta
    15 flights, she “discovered that any such representations” related to Delta’s carbon
    16 neutral status “are manifestly and provably false.” Id. ¶ 6. She claims that “[r]ather
    17 than achieving carbon neutrality through sustainable fuels and carbon removals,”
    18 Delta has “instead premised their carbon neutrality on the purchase of carbon offsets
    19 from the voluntary carbon market.” Id. ¶ 47. Plaintiff claims that “foundational
    20 issues with the voluntary carbon offset market mean the purchase of said offsets
    21 cannot make a company ‘carbon neutral.’” Id. ¶ 6. According to Plaintiff, “[n]early
    22 all offsets issued by the voluntary carbon offset market overpromise and
    23 underdeliver on their total carbon impact due to endemic methodological errors and
    24 fraudulent account on behalf of offset vendors[.]” Id. ¶ 47.
    25        Following the MTD Order, the SAC added the following sole allegation to
    26 Paragraph 17 to bolster Plaintiff’s claim for future injunctive relief: “Plaintiff is a
    27 longstanding and loyal Delta customer. Plaintiff intends to purchase flights from
    28 Delta in the future.” See SAC ¶ 17. As set forth below, the SAC’s only additional
                                            2
               DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                             SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW         Document 42      Filed 05/03/24   Page 9 of 17 Page ID
                                         #:418



     1 allegation to support Plaintiff’s standing to seek future equitable relief is insufficient,
     2 and the Court should dismiss these claims.1
     3 III.    DELTA’S MOTION TO DISMISS SHOULD BE GRANTED
               BECAUSE PLAINTIFF LACKS ARTICLE III STANDING TO SEEK
     4
               FUTURE INJUNCTIVE RELIEF
     5         A. Legal Standard
     6         Rule 12(b)(6) requires Plaintiff to “state a claim to relief that is plausible on
     7 its face.” Bell Atl. Corp v. Twombly, 550 U.S. 544, 570 (2007). “Threadbare recitals
     8 of the elements of a cause of action, supported by mere conclusory statements, do
     9 not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where “there is no
    10 cognizable legal theory or an absence of sufficient facts alleged to support a
    11 cognizable legal theory,” courts must dismiss plaintiffs’ claims. Navarro v. Block,
    12 250 F.3d 729, 732 (9th Cir. 2001).
    13         Plaintiff also shoulders the burden of properly pleading sufficient facts to
    14 support both Article III standing and subject matter jurisdiction to survive a Rule
    15 12(b)(1) challenge. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)
    16 (“[E]ach element [of standing] must be supported in the same way as any other
    17 matter on which the plaintiff bears the burden of proof, i.e., with the manner and
    18 degree of evidence required at the successive stages of the litigation.”). And standing
    19 must be demonstrated “separately for each form of relief sought.” Davidson v.
    20 Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018).
    21
    22
    23
         1 Notwithstanding the Court’s holding that Plaintiff’s claims for equitable restitution
    24
       were barred by Sonner, see MTD Order at 12-13, the SAC still asserted claims for
    25 equitable restitution, see SAC ¶¶ 87, 96 & Prayer for Relief ¶ C. During the meet
    26 and confer process, Plaintiff agreed to stipulate to removal of these allegations rather
       than force Delta to file a motion to strike. See Santa Ana Police Officers Ass’n v.
    27 City of Santa Ana, No. SACV151280DOCDFMX, 2018 WL 3013355, at *2 (C.D.
    28 Cal. June 14, 2018) (striking third cause of action because “Plaintiffs exceeded the
       scope of the leave to amend granted by this Court”).
                                             3
                DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                              SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW         Document 42      Filed 05/03/24   Page 10 of 17 Page
                                        ID #:419



    1         In dismissing a complaint, courts need not grant leave to amend where, as
    2 here, it would be futile. See Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1298
    3 (9th Cir. 1998).
    4         B. Plaintiff’s Standing to Seek Prospective Injunctive Relief Is Controlled
                 by Article III and the Ninth Circuit’s Opinion in Davidson
    5
    6         The doctrine of standing is “an essential and unchanging part of the case-or-
    7 controversy requirement of Article III.” Lujan, 504 U.S. at 560. To have standing
    8 to seek prospective injunctive relief, Article III of the Constitution demands that “a
    9 plaintiff must show (1) [she] has suffered an ‘injury in fact’ that is (a) concrete and
   10 particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the
   11 injury is fairly traceable to the challenged action of the defendant; and (3) it is likely,
   12 as opposed to merely speculative, that the injury will be redressed by a favorable
   13 decision.” Hardy v. Mitsubishi Motors N. Am., Inc., No. 21-CV-01983-MEMF, 2023
   14 WL 4067408, at *4 (C.D. Cal. Mar. 30, 2023). “Where standing is premised entirely
   15 on the threat of repeated injury, a plaintiff must show a sufficient likelihood that
   16 [s]he will again be wronged in a similar way.” Davidson, 889 F.3d at 967 (quotations
   17 omitted). In other words, the “threatened injury must be certainly impending to
   18 constitute injury in fact” and mere “allegations of possible future injury are not
   19 sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398 (2013).
   20         It is black letter law that allegations of “past wrongs” are “insufficient by
   21 themselves to grant standing” to seek future injunctive relief. Davidson, 889 F.3d at
   22 967. Where standing is premised entirely on the threat of repeating a past injury, a
   23 plaintiff must show “a sufficient likelihood that [s]he will be again be wronged in a
   24 similar way.” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983). Plaintiff has
   25 not done so here.
   26           i.   The Ninth Circuit’s Opinion in Davidson Governs Standing.
   27         Whether Plaintiff has Article III standing to seek future injunctive relief is
   28 governed by Davidson. There, the plaintiff alleged that she had purchased household
                                           4
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW        Document 42        Filed 05/03/24   Page 11 of 17 Page
                                       ID #:420



    1 wipes manufactured by Kimberly-Clark after having been misled into believing that
    2 the wipes were “flushable” based on a label on their packaging. Davidson, 889 F.3d
    3 at 964. The plaintiff sought, among other things, injunctive relief under the FAL and
    4 UCL enjoining Kimberly-Clark from using the term “‘flushable’ on their wipes until
    5 the product is truly flushable.” Id. at 971.
    6         In Davidson, the Ninth Circuit found that plaintiff had adequately alleged “an
    7 imminent or actual threat of future harm caused by Kimberly-Clark’s false
    8 advertising.” Id. at 970. Specifically, the court noted that the plaintiff had alleged
    9 that she: “continues to desire to purchase wipes that are suitable for disposal in a
   10 household toilet”; “would purchase truly flushable wipes manufactured by
   11 [Kimberly–Clark] if it were possible”; “desires to purchase Kimberly–Clark’s
   12 flushable wipes”; “regularly visits stores . . . where [Kimberly–Clark’s] ‘flushable’
   13 wipes are sold”; and is “continually presented with Kimberly–Clark’s flushable
   14 wipes packaging but has ‘no way of determining whether the representation
   15 ‘flushable’ is in fact true.’” Id. at 970-71.
   16         Even with these particularized allegations, the Ninth Circuit notated that the
   17 case presented a “close question.” Id. at 971. But it ultimately explained that the
   18 plaintiff’s allegations established: (1) a “concrete and particularized” injury under
   19 the theory that plaintiff adequately alleged she was unable “to rely on Kimberly–
   20 Clark’s representations of its product in deciding whether or not she should purchase
   21 the product in the future”; and, significantly, (2) a “sufficient likelihood” that the
   22 plaintiff would suffer such an injury, given her continuous encounters with the
   23 product at issue and her desire to purchase it. Id. at 971-72.
   24         “Courts have cautioned that Davidson’s ‘conclusion is narrower than a
   25 blanket conclusion that plaintiffs seeking injunctive relief in mislabeling class
   26 actions always have standing.’” See Anthony v. Pharmavite, 2019 WL 109446, at *5
   27 (N.D. Cal. Jan. 4, 2019) (quoting Martin Schneider, et al. v. Chipotle Mexican Grill,
   28 Inc., 2018 WL 4700353, at *2 (N.D. Cal. Sept. 29, 2019)). Instead, “[t]he principle
                                           5
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW       Document 42     Filed 05/03/24   Page 12 of 17 Page
                                      ID #:421



    1 set forth in Davidson is more accurately cast as the court’s ‘not [being] persuaded
    2 that injunctive relief is never available for a consumer who learns after purchasing a
    3 product that the label is false.” Id. (first alteration added) (quoting Schneider, 2018
    4 WL 4700353, at *2). Indeed, the Ninth Circuit expressly noted that the facts in
    5 Davidson presented a “close question,” which courts have interpreted as “implying
    6 that standing was unlikely in cases where the threat of future harm was weaker.” See
    7 e.g., Gamez v. Summit Nats. Inc., No. CV2205894DSFKSX, 2022 WL 17886027, at
    8 *4 (C.D. Cal. Oct. 24, 2022).
    9          ii.   Plaintiff Lacks a Concrete and Particularized Injury
   10        Here, unlike in Davidson, Plaintiff does not allege a concrete and
   11 particularized injury. As an initial matter, Plaintiff fails to include any of the same
   12 types of specific allegations the Ninth Circuit found presented a “close question” in
   13 Davidson. Nor could she—purchasing airfare is not like the purchase of an everyday
   14 consumer product, and does not lend itself to the type of continuous exposure to
   15 product labeling that was at issue in Davidson.
   16        Instead of detailing any future concrete and particularized injury, as the
   17 plaintiff did in Davidson, here Plaintiff simply includes a stray allegation that she
   18 “intends to purchase flights from Delta in the future.” See SAC ¶ 17. This is
   19 insufficient. See, e.g., Broomfield v. Craft Brew All., Inc., No. 17-CV-01027-BLF,
   20 2017 WL 5665654, at *4 (N.D. Cal. Nov. 27, 2017) (“[T]he Court has no trouble
   21 determining that Plaintiffs’ sole allegation that they would purchase Kona beer if it
   22 were in fact brewed in Hawaii is an insufficient injury under Davidson.”); Hanscom
   23 v. Reynolds Prods. LLC, No. 21-cv-03434-JSW, 2022 WL 591466, at *5 (N.D. Cal.
   24 Jan. 21, 2022) (dismissing injunctive relief claim for failure to plead Article III
   25 standing where plaintiff did not include sufficient allegations supporting her
   26 assertion that she wanted to purchase the product at issue in the future). As the Ninth
   27 Circuit has explained, a “some day intention—without any description of concrete
   28 plans, or indeed even any specification of when the some day will be—does not
                                           6
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW        Document 42      Filed 05/03/24   Page 13 of 17 Page
                                       ID #:422



    1 support a finding of the ‘actual or imminent’ injury that Article III requires.”
    2 Lanovaz v. Twinings N. Am., Inc., 726 F. App’x 590, 591 (9th Cir. 2018); see also
    3 In re: Coca-Cola Prods. Mktg & Sales Practices Litg., 2021 WL 3878654, at *2 (9th
    4 Cir. 2021) (reversing class certification decision on standing grounds where
    5 statements that plaintiffs would “‘consider’ purchasing properly labeled Coke are
    6 insufficient to show an actual or imminent threat of future harm”). Here, however,
    7 that is all Plaintiff has alleged—her minimal allegations of a “some day” intention
    8 to purchase Delta flights in the future are insufficient to satisfy Article III and confer
    9 standing to seek future injunctive relief.
   10         iii.   Plaintiff Cannot Establish a Sufficient Likelihood that She Will Be
                     Wronged Again in a Similar Way
   11
   12        Next, Plaintiff cannot establish standing to seek future injunctive relief
   13 because she does not allege the baseline facts establishing that she is likely to
   14 encounter Delta’s alleged deceptions in the future. In Davidson, the plaintiff pled a
   15 “sufficient likelihood” of a repeat similar wrong in part by alleging that she
   16 “regularly visits stores that sell Kimberly-Clark’s flushable wipes” and is
   17 “continually presented with Kimberly-Clark’s flushable wipes packaging.”
   18 Following Davidson, district courts generally require a plaintiff to make similar
   19 allegations that they are likely to encounter defendants’ alleged deceptions on a
   20 regular or continuous basis to find standing. In Wisdom v. Easton Diamond Sports,
   21 LLC, for example, the court found that the plaintiff lacked standing to seek injunctive
   22 relief against a baseball bat manufacturer because the plaintiff, “unlike Davidson,”
   23 failed to allege that he “regularly purchases bats, or is regularly visiting stores
   24 where bats are sold.” No. CV 18-4078 DSF (SSx), 2018 WL 6264994, at *2 (C.D.
   25 Cal. Oct. 9, 2018). Similarly, in Morizur v. Seaworld Parks & Entertainment, Inc.,
   26 the court found a lack of standing to seek injunctive relief against SeaWorld because
   27 there was no indication that the plaintiffs “regularly were confronted with
   28 SeaWorld’s allegedly false statements, which also differentiates them from the
                                           7
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW        Document 42     Filed 05/03/24    Page 14 of 17 Page
                                       ID #:423



    1 plaintiff in Davidson.” No. 15-CV-02172-JSW, 2020 WL 6044043, at *12 (N.D.
    2 Cal. Oct. 13, 2020).
    3        Here, and unlike Davidson, Plaintiff does not allege any facts suggesting that
    4 she regularly encounters or is continuously presented with Delta’s representations
    5 regarding its carbon neutrality. In fact, Plaintiff does not suggest that she will ever
    6 encounter Delta’s purported representations in the future as Plaintiff does not allege
    7 in any non-conclusory way that Delta’s representations are ongoing. 2 Past exposure
    8 to allegedly unlawful conduct, which is all Plaintiff alleges here, is plainly
    9 insufficient to confer standing for injunctive relief. See Phillips v. United States, No.
   10 219CV06338SVWJEM, 2021 WL 2587961, at *5 (C.D. Cal. June 22, 2021) (“A
   11 previously injured plaintiff must still show a real or immediate threat that he will
   12 again be wronged in a similar way”) (cleaned up); see also Gest v. Bradbury, 443
   13 F.3d 1177, 1181 (9th Cir. 2006) (to establish standing for injunctive relief, plaintiff
   14 must show that she is “realistically threatened by a repetition of the violation”).
   15         iv.   The SAC Lacks Any Allegations Regarding Plaintiff’s Inability to
                    Rely on Delta’s Representations.
   16
   17        Moreover, Plaintiff does not specifically allege that she would like to purchase
   18 flights in the future but cannot do so because she cannot rely on Delta’s
   19 representations regarding carbon neutrality. These are the sorts of allegations
   20 required by Davidson, and they are absent from Plaintiff’s SAC. See T. K. v. Adobe
   21
   22 2
        Plaintiff’s only references to any continuing purported misrepresentations by Delta
   23 are conclusory allegations seeking an injunction prohibiting Delta from “continuing
      to engage” in purported misrepresentations, see SAC ¶ 97, and alleging that Delta
   24
      “has engaged, and continues to engage,” in practices prohibited by the UCL, see id.
   25 ¶ 100. These “boilerplate and conclusory” allegations, which are “not tethered to any
   26 well-pleaded factual allegations” should be rejected. Alfaro v. Delta Air Lines, No.
      2:22-cv-04222-ODW, 2022 WL 17552995, at *3 (C.D. Cal. Dec. 9, 2022); See
   27 Vitiosus v. Alani Nutrition, LLC, No. 21-CV-2048-MMA (MDD), 2022 WL
   28 2441303, at *7 (S.D. Cal. July 5, 2022) (threadbare recital that plaintiffs “will
      continue to mislead in the future” was insufficient to survive dismissal).
                                           8
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW       Document 42     Filed 05/03/24   Page 15 of 17 Page
                                      ID #:424



    1 Sys. Inc., No. 17-CV-04595-LHK, 2018 WL 4003313, at *4 (N.D. Cal. Aug. 22,
    2 2018) (“[T]he possibility that Plaintiff may wish [to purchase a product] is not
    3 sufficient pursuant to Davidson” and is not an allegation of “any actual intention or
    4 plan to purchase [the product] again in the future.”); Hunter v. Nature’s Way Prod.,
    5 LLC, No. 16-CV-0532-WQH-AGS, 2018 WL 340233, at *4 (S.D. Cal. Jan. 9, 2018)
    6 (finding no standing to seek future injunctive relief because the plaintiff failed to
    7 make “plausible allegations that she will be unable to rely on the product’s
    8 advertising or labeling in the future, and so will not purchase the product although
    9 she would like to”).
   10          v.   Plaintiff Cannot Plausibly Allege Any Future Injury
   11        Finally, Plaintiff’s SAC precludes her from plausibly alleging standing under
   12 Davidson. A previously deceived consumer’s standing to seek injunctive relief as to
   13 an allegedly mislabeled product requires, in addition to a desire to purchase the
   14 product in the future, an ongoing “inability to rely on the validity of the information
   15 advertised” on the product. Davidson, 889 F.3d at 971. “Where a plaintiff learns
   16 information during litigation that enables her to evaluate product claims and make
   17 appropriate purchasing decisions going forward,” injunctive relief “would serve no
   18 meaningful purpose as to that plaintiff.” Jackson v. Gen. Mills, Inc., No. 2020 WL
   19 5106652, at *5 (S.D. Cal. Aug. 28, 2020); see also Cordes v. Boulder Brands USA,
   20 Inc., 2018 WL 6714323, at *4 (C.D. Cal. Oct. 17, 2018) (noting “Davidson, and the
   21 other cases cited in that opinion, involved situations where the plaintiff could not
   22 easily discover whether a previous misrepresentation had been cured without first
   23 buying the product at issue”); see also Moore v. Mars Petcare US, Inc., No. 16-CV-
   24 07001-MMC, 2023 WL 4536882, at *5 (N.D. Cal. July 12, 2023) (dismissing claims
   25 for future injunctive relief where plaintiffs now understood representations and
   26 could make a determination of their veracity).
   27        Indeed, after Davidson, courts have regularly dismissed complaints for future
   28 injunctive relief where a past harm was predicated on a lack of knowledge that has
                                           9
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW        Document 42      Filed 05/03/24    Page 16 of 17 Page
                                       ID #:425



    1 subsequently been cured, thus negating the risk of repeat harm going forward. See,
    2 e.g., Matic v. U.S. Nutrition, Inc., No. 18-cv-9592-PSG, 2019 WL 3084335, at *8
    3 (C.D. Cal. Mar. 27, 2019) (“Plaintiff is now aware that he can find out how much
    4 protein powder is in Defendant’s containers” and is not “likely to be deceived by the
    5 size of the protein powder containers in the future.”); see also Cimoli v. Alacer
    6 Corp., 546 F. Supp. 3d 897, 906-07 (N.D. Cal. 2021) (collecting cases dismissing
    7 claims for knowledge of alleged wrongdoing and inability to plead future harm).
    8         Here, Plaintiff alleges in no uncertain terms that Delta’s representations are
    9 “manifestly and provably false” and that “foundational issues with the voluntary
   10 carbon offset market mean the purchase of said offsets cannot make a company
   11 ‘carbon neutral.’” See SAC ¶ 6 (emphasis added). Thus, even if Plaintiff claimed an
   12 injury based on an inability to rely on Delta’s representations in the past, it is unclear
   13 how she could be harmed in the future when she simultaneously alleges
   14 unequivocally that a company cannot be carbon neutral through participation in the
   15 voluntary carbon offset market. Plaintiff’s disclaimer of any faith in the carbon credit
   16 market precludes her from plausibly alleging the likelihood of future injury. See
   17 Harry v. KCG Americas LLC, No. 17-CV-02385-HSG, 2018 WL 4075885, at *7
   18 (N.D. Cal. Aug. 27, 2018), aff’d, 805 F. App’x 534 (9th Cir. 2020) (“contradictory
   19 allegations do not plausibly allege an injury . . . for purposes of establishing
   20 Plaintiff[s’] standing.”); see also Pharmavite, 2019 WL 109446, at *6 (dismissing
   21 claim for injunctive relief for lack of standing because plaintiffs failed to allege that
   22 they “intend to purchase the Biotin Products again in the future” and claimed that
   23 “as a matter of scientific fact, biotin supplements ‘are unneeded, superfluous, and
   24 will not provide any benefits’”); Rahman v. Mott’s LLP, No. 13-cv-03482-SI, 2018
   25 WL 4585024, at *3 (N.D. Cal. Sept. 25, 2018) (“Unlike Davidson, where a
   26 consumer’s inability to rely on packaging misrepresentations in the future was an
   27 ongoing injury, [plaintiff] is able to rely on the packaging now that he understands
   28 the ‘No Sugar Added’ label.”).
                                          10
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
Case 2:23-cv-04150-MEMF-MRW       Document 42     Filed 05/03/24   Page 17 of 17 Page
                                      ID #:426



    1        Consequently, because Plaintiff cannot plausibly allege that she is likely to be
    2 misled in the future and suffer a similar injury, she lacks standing to seek future
    3 injunctive relief.3
    4 IV.    CONCLUSION
    5        For the reasons explained above, the Court should dismiss the FAC without
    6 leave to amend.
    7        RESPECTFULLY SUBMITTED.
    8
    9 DATED: May 3, 2024                            KING & SPALDING LLP
   10                                               By: /s/ Michael D. Roth
   11                                                   MICHAEL D. ROTH
                                                        Attorney for Defendant
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21 3 Delta acknowledges this Court’s Order Granting in Part Motion to Dismiss Second
      Amended Complaint in Hardy v. Mitsubishi Motors N. Am., Inc., No. 21-CV-01983-
   22
      MEMF (C.D. Cal.) (Jan. 24, 2024), Dkt. 53. In Hardy, however, the Court construed
   23 plaintiffs’ allegations to state that they “may wish to purchase another Mitsubishi
      vehicle,” that they “may like certain features of these cars despite their knowledge
   24
      of the defect,” and that they “may wish to be able [to] rely on Defendants’
   25 advertising in the future, and may want the peace of mind of knowing that future
   26 advertising will not contain misrepresentations.” Id. at 16. Plaintiff’s SAC here
      contains no such allegations, nor any allegations that could be so construed.
   27 Moreover, Hardy did not involve a situation, like the one here, where the Plaintiff
   28 understands that past claims of carbon neutrality cannot be relied upon because they
      are, as she alleges, “manifestly and provably false.” SAC ¶ 6.
                                          11
              DEFENDANT DELTA AIR LINES, INC.’S PARTIAL MOTION TO DISMISS
                            SECOND AMENDED COMPLAINT
